                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

United States of America,                         )
                                                  )
                             Plaintiff,           )
                                                  )
       v.                                         )       Criminal Action Number
                                                  )       12-00379-01-CR-W-HFS
Jose Luis Ramirez,                                )
                                                  )
                             Defendant.           )

                            REPORT AND RECOMMENDATION

       Pending before the Court is the MOTION TO SUPPRESS WITH SUGGESTIONS (Doc. #212)

filed on August 7, 2014, by defendant Jose Luis Ramirez (“Ramirez”). On November 7, 2014,

the undersigned held an evidentiary hearing on Ramirez’ motion. Ramirez was present and

represented by his counsel, Mark A. Thomason. The government was represented by Assistant

United States Attorney Catherine A. Connelly. At the evidentiary hearing, testimony was given

by one witnesses: Special Agent Shawn Kirby, with the United States Immigration and Customs

Enforcement (“ICE”). Additionally, the following exhibits were admitted into evidence:

       Gov’t Ex. #1          [Wiretap Application, 8/31/2012]
       Gov’t Ex. #1A         [Wiretap Order, 8/31/2012]
       Gov’t Ex. #1B         [Wiretap Affidavit]
       Gov’t Ex. #1C         [Wiretap Application, 10/5/2012]
       Gov’t Ex. #1D         [Wiretap Order, 10/5/2012]
       Gov’t Ex. #2          [Wiretap Order, 9/25/2012]
       Gov’t Ex. #2A         [Wiretap Affidavit]
       Gov’t Ex. #2B         [Wiretap Application, 10/30/2012]
       Gov’t Ex. #2C         [Wiretap Order, 10/30/2012]
       Gov’t Ex. #3          [Wiretap Application, 11/2/2012]
       Gov’t Ex. #3A         [Wiretap Order, 11/2/2012]
       Gov’t Ex. #3B         [Wiretap Affidavit]
       Gov’t Ex. #3C         [Wiretap Application, 12/13/2012]
       Gov’t Ex. #3D         [Wiretap Order, 12/13/2012]
       Def’t Ex. #505        [Wiretap Application, 9/25/2012]

                                              1

     Case 4:12-cr-00379-BCW          Document 263       Filed 01/13/15    Page 1 of 11
       On the basis of all the evidence adduced at the evidentiary hearing, the undersigned

submits the following:

                              PROPOSED FINDINGS OF FACT

       1.    Shawn Kirby is a Special Agent with the United States Immigration and Customs
Enforcement working as a criminal investigator assigned to investigations of contraband
smuggling. Tr. at 11-12.

       2.      SA Kirby was the lead investigator in the ICE investigation of Ramirez. Tr. at 12.

        3.     The ICE investigation began in 2009 and involved suspicions of a large
trafficking network operation to smuggle large amounts of illegal drugs and currency to and from
Mexico. Tr. at 12-14.

       4.      Ramirez became a target in the ICE investigation in January 2012. Tr. at 14.

       5.      As part of the ICE investigation involving Ramirez, investigators sought and
obtained four wiretaps and three extensions. Tr. at 14.

        6.      The first 30-day wiretap order (for two target telephones) was obtained when the
Court 1 signed an order on August 31, 2012. Tr. at 22, 23.

       7.     Interceptions under the order began on August 31, 2012, and ended on Saturday,
September 29, 2012 (with regard to one target telephone – an extension was sought on the target
telephone). Tr. at 23, 25.

        8.     At ICE, once a wiretap is terminated, an ICE Technical Enforcement Officer or
Designated Technical Agent must finalize the recording disks, eject them from the system, and
deliver them to the agent to present to the Court for sealing. Tr. at 19-20.

       9.       An ICE Technical Enforcement Officer or Designated Technical Agent was not
available to finalize the recording disks until Monday, October 1, 2012. Tr. at 25.

      10.    On Tuesday, October 2, 2012, SA Kirby was scheduled to be the supervisor in the
ICE wire room. Tr. at 26-27.

       11.    On Wednesday October 3, 2012, and Thursday, October 4, 2012, the Court was
unavailable. Tr. at 27.

       12.     With regard to the concluded telephone target, an application to seal was filed
with the Court and signed on Friday, October 5, 2012. Tr. at 24.

       1
                The Honorable Fernando J. Gaitan, Jr., Senior District Judge, United States
District Court for the Western District of Missouri.
                                                2

      Case 4:12-cr-00379-BCW          Document 263        Filed 01/13/15      Page 2 of 11
       13.     A second 30-day wiretap order (for a third telephone target) was obtained when
the Court signed an order on September 25, 2012. Tr. at 28.

       14.    Interceptions under the order began on September 26, 2012, and ended on
Saturday, October 25, 2012. Tr. at 28.

        15.     On Tuesday, October 30, 2012, SA Kirby applied for and the Court entered an
order to seal the recordings intercepted on the third telephone target. Tr. at 32-33.

        16.    Prior to October 25, 2012, SA Kirby began the process of obtaining an extension
of the wiretap on the third telephone target, but DOJ permission to extend was not received prior
to October 25, 2012. Tr. at 29-31.

        17.    After receiving DOJ permission to extend the wiretap on the third telephone
target, SA Kirby applied for a 30-day extension and the Court signed the order on November 2,
2012. Tr. at 34.

      18.    Interception under the extension order began on November 2, 2012, and ended on
Tuesday, November 27, 2012. Tr. at 34-35.

        19.      The interceptions were ended before the conclusion of the 30 days under the
extension order because law enforcement officers believed they were at a point they could do a
successful enforcement operation (they conducted a search warrant for the residence of the user
of the third telephone target). Tr. at 35.

       20.      Between November 27, 2012, and Saturday, December 1, 2012, SA Kirby was
engaged in efforts to locate and secure the arrest of Ramirez (including preparation of and
application for GPS warrants). Tr. at 37-38.

        21.     On December 13, 2012, SA Kirby applied for and the Court entered an order to
seal the recordings intercepted on the third telephone target under the extension wiretap order.
Tr. at 37-38.

        22.    As part of the application for sealing, SA Kirby noted that:

               On December 3, 2012, government counsel contacted the court
               regarding sealing the recordings. Government counsel was
               advised that the court would be unavailable for sealing until
               December 13, 2012. In the interim the recordings have been kept
               in the custody of HIS Special Agent Shawn Kirby to ensure that
               the recordings are protected from tampering and to prevent
               unauthorized disclosure.
Tr. at 39.




                                                3

      Case 4:12-cr-00379-BCW          Document 263        Filed 01/13/15      Page 3 of 11
                             PROPOSED CONCLUSIONS OF LAW

        In his motion before the Court, Ramirez seeks the suppression of telephone conversations

involving him that were intercepted under various wiretaps because such conversations were

illegally intercepted in that:

        (1)     the wiretap order of August 31, 2012 and wiretap extension order
                of November 2, 2012, failed to specify the official at the
                Department of Justice who authorized the application in violation
                of 18 U.S.C. § 2518(4);

        (2)     the conversations intercepted under the orders of August 31, 2012,
                September 25, 2012, and November 2, 2012, were not immediately
                sealed in violation of 18 U.S.C. § 2518(8)(a); and

        (3)     the applications for the wiretap orders of August 31, 2012,
                September 25, 2012, and November 2, 2012, failed to include a
                full and complete “necessity” statement in violation of 18 U.S.C.
                §§ 2518(1)(c), (3)(c).

For the reasons set out herein, the Court rejects each of Ramirez’ legal arguments. The Court

will briefly address each argument.

        A.      Failure of the wiretap orders to specify the DOJ authorizing
                official.

        The federal wiretap statute was first enacted as Title III of the Omnibus Crime Control

and Safe Streets Act of 1968, Pub. L. 90–351, 82 Stat. 212-23, codified at 18 U.S.C. §§ 2510-20.

The law has dual purposes: “(1) protecting the privacy of wire and oral communications, and (2)

delineating on a uniform basis the circumstances and conditions under which the interception of

wire and oral communications may be authorized.” S. Rep. No. 1097, 90th Cong., 2d Sess.,

reprinted in 1968–2 U.S.C.C.A.N. 2112, 2153. The statute broadly prohibits wiretaps “[e]xcept

as otherwise specifically provided in this chapter.” 18 U.S.C. § 2511(1). To that end, the law

mandates detailed procedures that law enforcement officials must follow in applying for a

wiretap order [18 U.S.C. §§ 2516, 2518(1)] as well as specific findings that a judge must make in

                                                 4

      Case 4:12-cr-00379-BCW           Document 263       Filed 01/13/15      Page 4 of 11
issuing a wiretap order [18 U.S.C. § 2518(3)]. The statute further specifies in detail the

substantive provisions of the wiretap approval order [18 U.S.C. § 2518(4)] and it limits the

duration of the order and any extension order [18 U.S.C. § 2518(5)]. Finally, the statute prohibits

the use of wiretap evidence in any trial “if the disclosure of that information would be in

violation of this chapter.” 18 U.S.C. § 2515. Section 2518(10)(a) defines the disclosures

prohibited by § 2515 and the standards for suppressing wiretap evidence. United States v.

Giordano, 416 U.S. 505 524, 94 S.Ct. 1820, 1831 (1974).

       With regard to an order issued by a court under the federal wiretap statute, the law

provides:

               Each order authorizing or approving the interception of any wire,
               oral, or electronic communication under this chapter shall specify--

               (a)     the identity of the person, if known, whose communications
                       are to be intercepted;

               (b)     the nature and location of the communications facilities as
                       to which, or the place where, authority to intercept is
                       granted;

               (c)     a particular description of the type of communication
                       sought to be intercepted, and a statement of the particular
                       offense to which it relates;

               (d)     the identity of the agency authorized to intercept the
                       communications, and of the person authorizing the
                       application; and

               (e)     the period of time during which such interception is
                       authorized, including a statement as to whether or not the
                       interception shall automatically terminate when the
                       described communication has been first obtained.




                                                 5

      Case 4:12-cr-00379-BCW           Document 263        Filed 01/13/15       Page 5 of 11
18 U.S.C. § 2518(4) (emphasis added). In this case, there is no dispute that (although an

appropriate 2 DOJ official did authorize the subject wiretaps and the applications for the order did

identify the DOJ official) the respective court orders did not identify the person from DOJ

authorizing the application. Indeed, the Government concedes that the orders technically

violated 18 U.S.C. § 2518(4)(d). Thus, the issue is whether this violation mandates suppression. 3

       In determining whether suppression of wiretap evidence is warranted, courts must

examine whether the violated statutory requirement occupies “a central, or even functional, role

in guarding against unwarranted use of wiretapping or electronic surveillance.” United States v.

Chavez, 416 U.S. 562, 578, 94 S.Ct. 1849, 1857 (1974). To that end, the Supreme Court has

concluded that suppression of wiretap evidence is required where a wiretap application is not

authorized by a proper DOJ official [Giordano], but suppression is unwarranted where the

application for wiretap merely misidentifies the authorizing DOJ official. [Chavez]. Relying on

these Supreme Court decisions, the federal circuits have held that 18 U.S.C. § 2518(10)(a) does

not require suppression if the facial insufficiency of the wiretap order is no more than a technical

defect. See, e.g., United States v. Traitz, 871 F.2d 368, 379 (3d Cir. 1989); United States v.

Swann, 526 F.2d 147, 149 (9th Cir. 1975); United States v. Joseph, 519 F.2d 1068, 1070 (5th Cir.

1975); United States v. Vigi, 515 F.2d 290, 293 (6th Cir. 1975). In United States v. Moore, 41

F.3d 370 (8th Cir. 1994), the Eighth Circuit reached a similar conclusion.



       2
              The federal wiretap statute requires that wiretap applications must be authorized
by the Attorney General or other such designated authority specifically enumerated in the statute.
18 U.S.C. § 2516(1).
       3
               According to the statutory scheme for federal wiretaps, a court may suppress
evidence acquired through wiretapping, upon motion of “[a]ny aggrieved person” if “(i) the
communication was unlawfully intercepted; (ii) the order of authorization or approval under
which it was intercepted is insufficient on its face; or (iii) the interception was not made in
conformity with the order of authorization or approval.” 18 U.S.C. § 2518(10)(a).
                                                 6

      Case 4:12-cr-00379-BCW           Document 263        Filed 01/13/15      Page 6 of 11
        In Moore, the Eighth Circuit concluded that a district court erred in suppressing the

wiretap evidence on the basis that the order authorizing the interception was not signed by the

judge. In so ruling, the court found:

              Because the statute does not expressly require a signed order, our inquiry
              must focus on whether the absence of [the judge’s] signature in this case
              violated a core statutory requirement, or was a mere technical defect.
              The record reveals compliance with all the fundamental statutory
              safeguards that protect against unauthorized or unwarranted wiretap
              surveillance. The application was authorized [and the] application met
              the requirements of § 2518(1). [The judge] made the findings required
              by § 2518(3) before deciding to approve the application. . . . On the
              facts of this case, the unsigned order was a technical defect.

Id. at 375. Based on Moore, the Government argues that the omission of the authorizing DOJ

official from the wiretap orders in this case is a mere technical defect as delineated by Moore.

More recently, in United States v. Lomeli, 676 F.3d 734, 736 (8th Cir. 2012), the Eighth Circuit

revisited the concept of technical defects in a wiretap suppression motion. In Lomeli, the court

found that a defect was not a mere technicality and that suppression was warranted. The

reasoning of the Lomeli court is instructive. In Lomeli, the defendant established that both the

application for a wiretap as well as the ensuing wiretap order did not specifically identify the

DOJ official authorizing the application. Id. at 736-37. The court concluded that the omission

was not technical, reasoning:

              The authorizing judge in the instant case had no way of knowing the
              name of the actual, statutorily designated official that had indeed
              authorized the application even though the application states as much in
              general terms – one of the core components of this legislation. And, the
              government offered no evidence (such as was received in other cases)
              that the judge indeed knew the identity of the appropriate authorizing
              official, or that the name of the statutorily designated official was
              otherwise disclosed. Such evidence would have demonstrated
              compliance with all the fundamental statutory safeguards that protect
              against unauthorized or unwarranted wiretap surveillance.

Id. at 741.

                                                  7

      Case 4:12-cr-00379-BCW            Document 263        Filed 01/13/15     Page 7 of 11
       Unlike the facts of Lomeli, the judge issuing the wiretap orders in this case did know the

identity of the appropriate authorizing official, as evidenced by the applications for the wiretap

orders. Based on the reasoning of Moore and Lomeli, this Court concludes that the violations of

18 U.S.C. § 2518(4)(d) of the federal wiretap statute by the omission of the identity of the

authorizing official in the respective wiretap orders in this case were merely technical and do not

warrant suppression. Accord United States v. Radcliff, 331 F.3d 1153, 1160-63 (10th Cir. 2003)

(denying suppression because even though the name of the authorizing official was omitted from

the wiretap order, there was no dispute that the applications identified the appropriate DOJ

individual); United States v. Fudge, 325 F.3d 910, 917-18 (7th Cir. 2003) (same).

                                   B. Delays in formal sealing

       As noted supra, the federal wiretap law sets forth the procedures that law enforcement

officers are to follow when using electronic surveillance, including wiretaps, during the course of

an investigation. In part, the law requires that “[i]mmediately upon the expiration of the period of

the order, or extensions thereof, such recordings shall be made available to the judge issuing

such order and sealed under his directions.” 18 U.S.C. § 2518(8)(a). If the recordings are not

sealed immediately and the government cannot provide a satisfactory explanation for the delay,

the contents of the recordings and all of the evidence derived therefrom must be suppressed.

United States v. Feiste, 961 F.2d 1349, 1350 (8th Cir. 1992) (quoting 18 U.S.C. § 2518(8)(a)).

To provide a satisfactory explanation, the government must explain not only why a delay in

sealing occurred but also why the delay is excusable. United States v. Ojeda Rios, 495 U.S. 257,

264, 110 S.Ct. 1845, 1850 (1990). In this case, the Court finds the Government’s explanations

satisfactory and concludes that the delays are excusable.




                                                 8

      Case 4:12-cr-00379-BCW           Document 263         Filed 01/13/15     Page 8 of 11
       The first contested sealing involved the wiretap authorized by the order of August 31,

2012. Interceptions under that order were terminated on Saturday, September 29, 2012. The

government filed an application to seal with the Court on October 4, 2012 (the Court signed the

order to seal the next day). Because the wiretap order expired on a weekend, it was not until

Monday, October 1, 2012, that an ICE Technical Enforcement Officer or Designated Technical

Agent was available to finalize the recording disks, eject them from the system, and present a

primary disk to SA Kirby to present to the Court for sealing. On Tuesday, October 2, 20102, SA

Kirby was unavailable to present the sealing application due to case related duties. On

Wednesday, October 3, the Court was unavailable. The Government then submitted a sealing

application on Thursday, October 4, 2012. The delay, under these facts, was excusable.

Compare United States v. Maxwell, 25 F.3d 1389, 1395 (“Intervening weekends, holidays, and

the unavailability of the issuing judge are satisfactory explanations for slight delays in presenting

wiretap recordings for sealing.”).

       The second contested sealing involved the wiretap authorized by the order of September

25, 2012. Interceptions under that order were terminated on Thursday, October 25, 2012. The

government applied for and received an order to seal on Tuesday, October 30, 2012. Due to the

intervening weekend and the necessary internal process of ICE, the court finds this five-day

delay excusable. Compare United States v. Ardito, 782 F.2d 358, 362–63 (2d Cir. 1986) (two-

day intervening holiday and need to prepare paperwork provided adequate explanation for five-

day delay).

       The final contested sealing involved the wiretap authorized by the order of November 2,

2012. Interceptions under that order were terminated on Tuesday, November 27, 2012.

Thereafter between that date and December 1, 2012, SA Kirby was actively involved in efforts to



                                                  9

      Case 4:12-cr-00379-BCW           Document 263         Filed 01/13/15      Page 9 of 11
locate and arrest Ramirez (including preparation of GPS warrants). Ramirez was arrested on

Saturday, December 1, 2012. On Monday, December 3, 2012, the government contacted the

Court about obtaining an order to seal and was informed that the Court would be unavailable

until Thursday, December 13, 2012. On that date, the Court signed the order to seal. Although

the period is somewhat long, the Court nonetheless concludes that the delay was excusable under

the unique facts established.

                                  C. The necessity requirement

       Ramirez argues that in seeking the various wiretap authorizations, the government failed

to satisfy the necessity requirement of 18 U.S.C. § 2518 and, therefore, the Court must suppress

the evidence obtained as a result of the intercepted communications. The necessity finding made

prior to a district court's authorization of a wiretap is a factual determination. United States v.

Thompson, 210 F.3d 855, 859 (8th Cir. 2000). The necessity requirement of Section 2518

insures “‘that wiretaps are not routinely employed as the initial step in an investigation.’ ” Id. at

858-859 (quoting United States v. Maxwell, supra, 25 F.3d at 1394). To satisfy the requirement,

an application requesting a wiretap order must include “a full and complete statement as to

whether or not other investigative procedures have been tried and failed or why they reasonably

appear to be unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(1)(c). See

also Thompson, 210 F.3d at 858. Having reviewed the affidavits supporting the applications, the

Court concludes that they sufficiently set forth a full and complete statement as to whether or not

other investigative procedures have been tried and failed or why they reasonably appear to be

unlikely to succeed if tried or to be too dangerous.

       In this case, the subject applications discussed prior investigative techniques used

including physical surveillance, undercover officers, confidential sources, grand jury subpoenas,

subject interviews, pen registers, search warrants, trash searches, pole cameras, and financial
                                                  10

     Case 4:12-cr-00379-BCW            Document 263         Filed 01/13/15      Page 10 of 11
investigations. Nonetheless, law enforcement officers were still having difficulties in

establishing the contours and players in the large drug trafficking enterprise. As succinctly noted

by the Eighth Circuit in finding the necessity requirement satisfied in another wiretap case:

               The wiretap was requested for the purpose of discovering the full
               scope of the conspiracy, the full extent of the criminal activities,
               and to identify and successfully prosecute each member of the
               organization. If law enforcement officers are able to establish that
               conventional investigatory techniques have not been successful in
               exposing the full extent of the conspiracy and the identity of each
               coconspirator, the necessity requirement is satisfied.

United States v. Jackson, 345 F.3d 638, 644 (8th Cir. 2003).

        In accordance with the foregoing discussion, it is

RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order DENYING the MOTION TO SUPPRESS WITH SUGGESTIONS (Doc.

#212) filed on August 7, 2014, by defendant Jose Luiz Ramirez.

        Counsel are reminded that each has 14 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are

accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.



                                                        /s/ John T. Maughmer              ,
                                                    John T. Maughmer
                                                United States Magistrate Judge




                                                 11

     Case 4:12-cr-00379-BCW           Document 263           Filed 01/13/15    Page 11 of 11
